              Case 2:10-cr-00585-JCM-BNW           Document 80      Filed 10/21/11          Page 1 of 2              1

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          6                                UNITED STATES DISTRICT CO URT
          7                                       D ISTR ICT O F N EV A DA

          8 UNITED STATESOFAM ERICA,                           )
                                                               )
          9                          Plaintiff,                )
                                                               )
         10            v,                                      )           2:10-CR-585-RLH (PM ,)
                                                               )
         11 JORGE MONTES,                                      )
             a.k.a.Jaime,a.k.a.Camotes,                        )
         12                                                    )
           .
                                 Defendant.                    )
         13
         1491                                     O RDER OF FORFEITURE
         15            On October21,2011,defendantJORGE M ONTES,a.k.a.Jaim e,a.k.a.Cam otes,pledguilty
         16     toCotmtTenofaSeventeen-cotmtCrim inalIndictm entcharginghim inCountrfenwithDistribution

         17 ofaControlledSubstanceinviolationofTitle21,UnitedStatesCode,Section841(a)(1)andagreed
         18     to the forfeitm e ofproperty set.forth in the Forfeiture Allegation in the CriminalIndictmentand
         19     agreed to in thePleaM emorandum .
         20            ThisCourtfindsthatJORGE MONTES,mk.a.Jaime,a.ki.Camotesshallpayacriminal                           !
         21 forfeittu.emoneyjudgmentof$9,400.00 inUnitedStatesCurrencytotheUnitedStatesofAmerica,                        j
                                                                                                                         !
         22 pursuanttoFed.R.Crim.P.32,2(b)(1)and(2)andTitle21,UnitedStatesCode,Section853(a)(1).                         :
         23
         24     ...
         25     ...
         26     ...
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        Case 2:10-cr-00585-JCM-BNW      Document 80      Filed 10/21/11   Page 2 of 2




    (
               THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DFf u ED thattlw united
         States recoverfrom JORGE M ONTES,a.k.a.Jaime,a.k.a.Cam otes a criminalforfeiture m oney'
         judgmentintheamountof$9,400.00in United StatesCurrency.


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                    'o dayor é:
                              i                        ,2011.

                                                       D ST TES DISTRICT JUDGE




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